    Case 1:01-cv-12257-PBS Document 6528-7 Filed 09/22/09 Page 1 of 5




                                 Exhibit 6



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
         Case 1:01-cv-12257-PBS Document 6528-7 Filed 09/22/09 Page 2 of 5

Wells, Jerry           PORTIONS HIGHLY CONFIDENTIAL December 15, 2008
                                 Tallahassee, FL

                                                                                Page 1
                UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS

    ----------------------------------X

    In Re: PHARMACEUTICAL INDUSTRY    ) MDL No. 1456

    AVERAGE WHOLESALE PRICE LITIGATION) CIVIL ACTION:

    ----------------------------------X 01-CV-12257-PBS

    THIS DOCUMENT RELATES TO:         )

    U.S. ex rel. Ven-A-Care of the    ) Judge Patti B.

    Florida Keys, Inc., v. Abbott     ) Saris

    Laboratories, Inc., No.           )

    06-CV-11337-PBS; U.S. ex rel.     ) Magistrate Judge

    Ven-A-Care of the Florida Keys,   ) Marianne Bowler

    Inc. v. Abbott Laboratories, Inc.,)

    No. 07-CV-11618-PBS; U.S. ex rel. )

    Ven-A-Care of the Florida Keys,   )   DEPOSITION OF

    Inc. v. Dey, Inc., et al., No.    )    JERRY WELLS

    05-11084-PBS; U.S. ex rel.        )

    Ven-A-Care of the Florida Keys,   ) DECMEBER 15, 2008

    Inc., et al. v. Boehringer        )   TALLAHASSEE, FL

    Ingelheim Corp., et al., No.      )

    07-10248-PBS                      )

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Wells, Jerry         PORTIONS HIGHLY CONFIDENTIAL December 15, 2008
                            Tallahassee, FL

                                                                               Page 2
  1
                         VIDEOTAPED DEPOSITION OF
  2
                                    JERRY WELLS
  3
                Taken on behalf of Abbott Laboratories
  4

  5
                         Monday, December 15, 2008
  6
                           Commencing at 9:18 a.m.
  7
                           Concluding at 4:43 p.m.
  8

  9
                                 Holland & Knight
10
                  315 South Calhoun Street, Suite 600
11
                              Tallahassee, Florida
12
          Reported by Barbara J. Memory, RPR, CCR B-2036
13

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Wells, Jerry          PORTIONS HIGHLY CONFIDENTIAL December 15, 2008
                             Tallahassee, FL

                                                                           Page 115
  1
               Q.     Yes.    So is it more accurate to say
  2
      that you don't recall whether you did or didn't?
  3
                      MS. ST. PETE-GRIFFITH:              Object to the
  4
      form.
  5
                      THE WITNESS:         In the 1980s, I don't
  6
      recall whether I did or didn't.
  7
      BY MR. COOK:
  8
               Q.     Do you recall whether you had this
  9
      understanding of pricing for injectable products
10
      and associated intravenous fluids as of 1992 when
11
      you returned to the Medicaid program?
12
               A.     I don't know how to answer that
13
      question accurately, because I had worked for
14
      manufacturers.          I knew that there were special
15
      prices for non-profit hospitals, which, I think,
16
      nobody objected to.             And -- but they didn't make
17
      their way into the retail marketplace.
18
                      I had -- when I returned to Medicaid in
19
      1992, I had been working for the Department of
20
      Health and managing the county public health unit
21
      pharmacies, and I was aware of 340B pricing,
22
      which nobody objected to.                And I was aware of

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Wells, Jerry          PORTIONS HIGHLY CONFIDENTIAL December 15, 2008
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                                                                           Page 254
  1
               Q.     Did you ask them?
  2
               A.     No.
  3
               Q.     Why not?
  4
               A.     Why should I?         I don't ask Eckerd or
  5
      Walgreens what kind of profit they're making.
  6
               Q.     You'll agree with me -- well, let me
  7
      ask you: Would it have assisted you in
  8
      administrating the Florida Medicaid to know what
  9
      it was that providers were actually paying for
10
      infusion and IV products?
11
                      MR. BREEN:       Objection, form.
12
                      THE WITNESS:         It was always our goal to
13
      be able to set reimbursement levels according to
14
      the guidelines we were given by the state
15
      legislature and by the feds, and to that end, it
16
      was our desire to know what true cost was.
17
      BY MR. COOK:
18
               Q.     You'll agree with me that one way to
19
      determine true cost would have been to ask
20
      providers such as Ven-a-Care what their cost was,
21
      right?
22
                      MS. ST. PETER-GRIFFITH:               Object to the

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